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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                               JUDGE WALKER D. MILLER

  Civil Action No. 05-cv-00377-WDM-BNB

  MOISES CARRANZA REYES,

         Plaintiff,

  v.

  PARK COUNTY, a public entity of the State of Colorado and its governing board;
  THE PARK COUNTY BOARD OF COUNTY COMMISSIONERS;
  PARK COUNTY SHERIFF’    S OFFICE, a public entity of the State of Colorado;
  FRED WEGENER, individually and in his official capacity as Sheriff of Park County,
  Colorado;
  MONTE GORE, individually and in his official capacity as Captain of Park County
  Sheriff’
         s Department;
  VICKIE PAULSEN, individually and in her official capacity as Registered Nurse for Park
  County, Colorado; and
  JAMES BACHMAN, M.D., individually and in his official capacity as Medical Director of
  the Park County Jail,

         Defendants.


                             ORDER ON MOTION TO DISMISS

  Miller, J.

         This case is before me on the motion to dismiss defendants Park County and Park

  County Sheriff’
                s Office, filed July 18, 2005, on the ground that these two entities are

  properly sued only through the Park County Board of County Commissioners (the Board)

  and Sheriff Wegener in his official capacity. Plaintiff opposes the motion. For the reasons

  that follow, the motion will be granted.

         Under Colorado law, a suit against a county must be brought against the board of

  county commissioners. C.R.S. § 30-11-105. Here, Plaintiff has sued both Park County
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  and the Board. Pursuant to § 30-11-105, only the suit against the Board is proper.

         Plaintiff relies on Wigger v. McKee, 809 P.2d 999 (Colo. App. 1990), to argue that

  he has properly sued Park County. Wigger addressed whether a county is a “person”for

  purposes of 42 U.S.C. § 1983. Moreover, the opinion expressly states that the defendant,

  Arapahoe County, was “sued properly in the name of The Board of County Commissioners

  of Arapahoe County.” Id. at 1003. Because Plaintiff has sued the Board here, the suit

  against Park County is improper and redundant.

         Plaintiff’
                  s claims against the Park County Sheriff’
                                                          s Office should be construed as

  claims against Sheriff Wegener in his official capacity. Cortese v. Black, 838 F. Supp. 485,

  496 (D. Colo. 1993). Although Plaintiff asserts that the Park County Sheriff’
                                                                              s Department

  has final decision-making authority under state law, the statutes cited refer to the duties

  and authority of a sheriff, not his or her department. C.R.S. § 30-10-501, et seq. Further,

  Colorado law places the liability for actions by the sheriff or his or her deputies on the

  sheriff rather than on a department. See, e.g., § 30-10-506. Finally, because Plaintiff has

  sued Sheriff Wegener in his official capacity, as well as the Board, the claims against the

  Sheriff’
         s Office are redundant, and their deletion does not alter any of the remedies

  available to Plaintiff.

         Accordingly, it is ordered:

  1.     The motion to dismiss, filed July 18, 2005, is granted.

  2.     Park County and Park County Sheriff’
                                            s Office are dismissed from this case.




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  3.      The caption of the case shall be amended to delete Park County and Park County

          Sheriff’
                 s Office as defendants.

          DATED at Denver, Colorado, on November 3, 2005.

                                                 BY THE COURT:



                                                 /s/ Walker D. Miller
                                                 United States District Judge




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